Case 1:19-cv-09236-KPF Document 453-1 Filed 09/19/23 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Case No:
IN RE TETHER AND BITFINEX CRYPTO ASSET
LITIGATION 19 Civ. 9236 (KPF)
AFFIDAVIT OF WILLIAM J. KRAUS IN SUPPORT OF

MOTION TO APPEAR PRO HAC VICE

WILLIAM J. KRAUS declares pursuant to 28 U.S.C. § 1746:

de I respectfully submit this Affidavit pursuant to Local Rule 1.3 in support of my
motion to appear pro hac vice in the above-captioned case.

De I am an attorney with the law firm of FisherBroyles LLP.

2 My contact information is:

William J. Kraus

FisherBroyles LLP

Office: 400 Renaissance Center, Suite 2600

Detroit, MI 48243

Mailing Address: 455 East Eisenhower Parkway, Suite 300 PMB1082

Ann Arbor, MI 48108

william.kraus@fisherbroyles.com

Tel: (773) 326-9789

4. As shown in the attached Certificates of Good Standing, I am a member in
good standing of the bars of the State of Michigan and the State of Illinois.

5. I have never been convicted of a felony.

6. I have never been censured, suspended, disbarred or denied admission

or readmission by any court.
Case 1:19-cv-09236-KPF Document 453-1 Filed 09/19/23 Page 2 of 2

a. There are no pending disciplinary complaints against me and I have never been
the subject of any disciplinary matter.

8. I declare under penalty of perjury that the foregoing is true and correct.

Dated: September 9, 2023

aE

William J. Kraus ~

th
SUBSCRIBED AND SWORN TO before me this 4 day of September, 2023

Qunillterayy,
4

[NOTARY SEAL] Sook MER,
Print Name: PD BI vcten Laid

NOTARY PUBLIC in and for the State of Michigan

<=

s

=

= of My Commission £ \
= 'Y Commission Explres
- 1

= | MARCH 41,2027!
:

‘
%
%

¢,
%,
%,

My Appointment Expires: 3) [I / LZ} OF Mico
/

.
. wt

9m ~ oe Ors : eoweeee?
“Say OF Mice” = a=

"4 0enagngsn0™
